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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
                                    RENO, NEVADA

SHAWN AND LENA VAN ASDALE,                          )         3:04-CV-0703-RAM
                                                    )
        Plaintiff,                                  )         MINUTES OF THE COURT
                                                    )
vs.                                                 )         DATED: FEBRUARY 7, 2011
                                                    )
INTERNATIONAL GAME TECHNOLOGY,                      )
                                                    )
        Defendant(s).                               )
                                                    )


PRESENT: HONORABLE ROBERT A. McQUAID, JR., U.S. MAGISTRATE JUDGE

Deputy Clerk: Jennifer Cotter        Reporter: Kathy French

Counsel for Plaintiff: Margo Piscevich and Mark Lenz

Counsel for Defendant(s): Richard Campbell, Jr., Daniel O’Toole, and Lance Maiss

PROCEEDINGS:            JURY TRIAL - DAY 9

9:02 a.m. Court reconvenes in the presence of the jury. Lena Van Asdale, previously sworn,
resumes testimony under cross-examination by Mr. Campbell; redirect examination by Ms.
Piscevich; recross-examination by Mr. Campbell; followup redirect examination by Ms. Piscevich;
witness is excused.

Shawn Van Asdale, previously sworn, is recalled on behalf of Plaintiffs and testifies under direct
examination by Ms. Piscevich; cross-examination by Mr. Campbell; witness is excused.

Plaintiffs rest.

Defendant’s Exhibit 81 is marked and admitted. Defendant rests.

Jurors are admonished and excused. The Court and Counsel confer regarding the remaining
schedule.

10:12 a.m. Court stands at recess.

10:31 a.m. Court reconvenes outside the presence the presence of the jury. The Court and Counsel
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further confer regarding the schedule of events.

Jurors are returned to the courtroom, are advised of the upcoming schedule, and are admonished and
excused for the day.

IT IS ORDERED that trial is continued to Tuesday, February 8, 2011 at 9:00 a.m.

The Court states it has been presented with the Motion for Judgment as a Matter of Law filed by the
defendant. Said motion is DENIED.

10:39 a.m. Court stands at recess.

11:27 a.m. Court reconvenes outside the presence of the jury. The Court notes for the record that
Counsel and the Court have met privately and have informally settled jury instructions. Ms.
Piscevich, on behalf of Plaintiffs, objects to Instructions #17, #18, #20, and #21; objections are
overruled. Mr. O’Toole, on behalf of Defendant, objects to portion of Instruction #18. Instruction
#18 is modified in accordance with the terms as stated on the record. Ms. Piscevich offers
Instruction #18, as initially drafted, on behalf of Plaintiffs. Offer is rejected. Mr. O’Toole makes
no further offers of instructions on behalf of Defendant.

11:39 a.m. Court adjourns.


                                                     LANCE S. WILSON, CLERK

                                                     By: /s/
                                                     Deputy Clerk
